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 1                               UNITED STATES DISTRICT COURT
                                           FOR THE
 2
                                    DISTRICT OF DELAWARE
 3
     KAY MESSINA,                                      )
 4                                                     )     Case No.:
                    Plaintiff,                         )
 5                                                     )
                    v.                                 )
 6                                                     )     COMPLAINT AND DEMAND FOR
     PORTFOLIO BUSINESS                                )     JURY TRIAL
 7   MANAGEMENT, INC.,                                 )
                                                       )
 8
                    Defendant.                         )     (Unlawful Debt Collections Practices)
 9
                                                       )

10                                             COMPLAINT

11          KAY MESSINA (“Plaintiff”), by and through her counsel, Kimmel & Silverman, P.C.,

12   alleges the following against PORTFOLIO BUSINESS MANAGEMENT, INC. (“Defendant”):

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14
                                             INTRODUCTION
15
            1.      This is an action for damages brought by an individual consumer for Defendant's
16
     violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”),
17
     which prohibits debt collectors from engaging in abusive, deceptive, and unfair practices.
18

19
                                      JURISDICTION AND VENUE
20
            2.      Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), which states that
21

22   such actions may be brought and heard before “any appropriate United States district court

23   without regard to the amount in controversy,” and 28 U.S.C. § 1331, which grants this court

24   original jurisdiction of all civil actions arising under the laws of the United States.

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              3.    Defendant regularly conducts business in the State of Delaware therefore
 1
     personal jurisdiction is established.
 2

 3            4.    Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).

 4

 5                                                 PARTIES

 6            5.    Plaintiff is a natural person residing in Wilmington, Delaware.
 7            6.    Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3).
 8
              7.    Defendant is a corporation with its principal place of business located at 902
 9
     Ridge Road, Suite 114, West Seneca, New York 14224.
10
              8.    Upon information and belief, Defendant is a corporation that provides call
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     center, collections, insurance and debt purchase services to companies in the United States.
12
              9.    At all times material hereto, Defendant acted as a “debt collector” within the
13
     meaning of 15 U.S.C. § 1692(a)(6), and attempted to collect a “debt” as defined by 15 U.S.C. §
14
     1692(a)(5).
15

16            10.   Defendant acted through its agents, employees, officers, members, directors,

17   heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

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19                                     FACTUAL ALLEGATIONS
20            11.   At all times material hereto, Defendant contacted Plaintiff in an attempt to
21
     collect an alleged consumer debt.
22
              12.   Upon information provided and belief, the alleged debt arose out of transactions
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     that were for personal, family, or household purposes as Plaintiff does not owe any business
24
     debts.
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                                             PLAINTIFF’S COMPLAINT
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            13.     Throughout April 2015, Defendant’s collectors placed repeated harassing
 1
     telephone calls to Plaintiff’s cellular telephone number in its attempts to collect the alleged debt.
 2

 3          14.     Defendant’s collectors’ calls originated from telephone numbers including, but

 4   not limited to, (855) 641-1273. The undersigned has confirmed that this number belongs to

 5   Defendant.

 6          15.     Moreover, on at least one occasion, Defendant’s collector Nicole Carter
 7   indicated she was from the Department of Legal Services and that Defendant had a legal claim
 8
     pending against her and was going to serve her with papers related to that lawsuit either at her
 9
     home or place of employment.
10
            16.     Plaintiff never received any paperwork from Defendant.
11
            17.     Upon information provided and belief, Defendant did not intend to take legal
12
     action against Plaintiff and did not have legal action pending against her. Instead, Defendant’s
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     collectors made this threat for the purposes of placing Plaintiff in fear and to coerce payment of
14
     the alleged debt.
15

16          18.     Defendant’s actions as described herein were taken with the intent to harass,

17   abuse and coerce payment from Plaintiff.

18

19                                     COUNT I
                         DEFENDANT VIOLATED § 1692d OF THE FDCPA
20
            19.     A debt collector violates § 1692d by engaging in any conduct the natural
21

22   consequence of which is to harass, oppress, or abuse any person in connection with the

23   collection of a debt.

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             20.     Defendant violated § 1692d when it placed repeated harassing telephone calls to
 1
     Plaintiff; and when it deceptively threatened to take legal action or that legal action was pending
 2

 3   against Plaintiff,

 4

 5                                       COUNT II
                          DEFENDANT VIOLATED § 1692d(5) OF THE FDCPA
 6
             21.     A debt collector violates § 1692d(5) by causing a telephone to ring or engaging
 7
     any person in telephone conversation repeatedly or continuously with intent to annoy, abuse, or
 8

 9
     harass any person at the called number.

10           22.     Defendant violated § 1692d(5) when it placed repeated harassing calls to

11   Plaintiff’s cellular telephone causing it to ring continuously with the intent to annoy, abuse, and

12   harass Plaintiff.

13

14
                                   COUNT III
          DEFENDANT VIOLATED §§ 1692e, 1692e(5) AND 1692e(10) OF THE FDCPA
15

16           23.     A debt collector violates § 1692e by using any false, deceptive, or misleading

17   representation or means in connection with the collection of any debt.

18           24.     A debt collector violates § 1692e(5) by threatening to take any action that cannot

19   legally be taken or that is not intended to be taken
20           25.     A debt collector violates § 1692e(10) by use of any false representation or
21
     deceptive means to collect or attempt to collect any debt or to obtain information concerning a
22
     consumer.
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                                         PLAINTIFF’S COMPLAINT
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               26.   Defendant violated §§ 1692e, 1692e(5) and 1692e(10) when it threatened to take
 1
     legal action or that legal action was pending against Plaintiff without the intend to take such
 2

 3   action.

 4
                                        COUNT IV
 5                        DEFENDANT VIOLATED § 1692f OF THE FDCPA

 6             27.   A debt collector violates § 1692f by using unfair or unconscionable means to
 7   collect or attempt to collect any debt.
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               28.   Defendant violated § 1692f when it harassed Plaintiff; when it threatened
 9
     Plaintiff; and, generally, when it used unfair and unconscionable means to collect the alleged
10
     debt.
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12
               WHEREFORE, Plaintiff, KAY MESSINA, respectfully prays for judgment as follows:
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14                    a. All actual damages suffered pursuant to 15 U.S.C. § 1692k(a)(1);

15                    b. Statutory damages of $1,000.00 for the violation of the FDCPA pursuant to

16                       15 U.S.C. § 1692k(a)(2)(A);

17                    c. All reasonable attorneys’ fees, witness fees, court costs and other litigation

18                       costs, pursuant to 15 U.S.C. § 1693k(a)(3);

19                    e. Any other relief deemed fair and proper by this Honorable Court.

20
                                     DEMAND FOR JURY TRIAL
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22             PLEASE TAKE NOTICE that Plaintiff, KAY MESSINA, demands a jury trial in this

23   case.

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 1                                      RESPECTFULLY SUBMITTED,

 2                                      KIMMEL & SILVERMAN, P.C.

 3   Date: 3-31-16                      By:/s/ W. Christopher Componovo__
                                           W. Christopher Componovo
 4
                                           Attorney ID #3234
 5                                         Kimmel & Silverman, P.C.
                                           Silverside Carr Executive Center
 6                                         Suite 118, 501 Silverside Road
                                           Wilmington, DE 19809
 7                                         Phone: (302) 791-9373
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                                PLAINTIFF’S COMPLAINT
